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                        EXHIBIT 3
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      Editorial


      Liposomal Bupivacaine
      Effective, Cost-effective, or (Just) Costly?
      Mary Ellen McCann, M.D.




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     O       ne of the missions of the Food
             and Drug Administration
      (Silver Spring, Maryland) is to pro-
                                                                                                some concerns for bias. The chief
                                                                                                sources of bias included lack of
                                                                                                trial registration, registration after
      tect the public health by assuring                                                        enrollment, failure to define the
      the safety, efficacy, and security of                                                     primary outcome measure, and
      human drugs.1 According to Food                                                           problems with definition (e.g.,
      and Drug Administration guid-                                                             discrepancy between registry and
      ance, new drugs can be approved                                                           published article). Minimization of
      as long as they show efficacy com-                                                        bias in randomized controlled tri-
      pared to placebo, even if there are                                                       als is important to prevent data dis-
      already drugs approved and avail-                                                         tortion and erroneous conclusions.
      able that have been deemed effec-                                                         The Cochrane Risk of Bias tool
      tive.2 Exparel (Pacira Biosciences,                                                       does not measure conflicts of inter-
      Inc., USA), an extended release                                                           est by industry funding. Almost
      liposomal formulation of bupiva-                                                          half of the studies in this review
      caine, first approved by the Food                                                         reported either direct funding or
      and Drug Administration in 2011          “…liposomal               bupivacaine financial support for the authors
      for surgical site infiltration, was was found to be superior to by the manufacturer of liposomal
      approved under these circum-                                                              bupivacaine. Not surprisingly, lipo-
      stances. In this issue, two articles     comparators in 46% of… somal bupivacaine was found to be
      review 10 yr of research on the          conflicted [pharma-sponsored] superior to comparators in 46%
      clinical effectiveness of liposomal trials but was found to be                            of these conflicted trials but was
      bupivacaine. Ilfeld et al.3 provide an                                                    found to be superior in only 11%
      extensive narrative review of pub- superior in only 11% of the of the nonconflicted trials.
      lished randomized controlled tri- nonconflicted trials.”                                      The primary outcome in
      als, and Hussain et al.4 conducted a                                                      these 76 trials varied and was not
      systemic review and meta-analysis                                                         always designated. There were
      of the clinical effectiveness of liposomal versus nonliposomal two types of primary outcome measures used: postopera-
      bupivacaine for peripheral nerve blocks.                       tive pain scales such as the visual analogue scale scores and
          The narrative review by Ilfeld et al. included 76 ran-     numeric rating scales scores, or the mean morphine equiv-
      domized controlled trials. Importantly, they were evaluated    alents administered postoperatively to “rescue” the patient
      using the Cochrane Risk of Bias Version 2 tool. This tool      from pain. Some studies reported mean values, and others
      consists of five domains: bias from the randomizing pro-       reported area under the curve values.
      cess, bias due to deviations from intended intervention, bias      The first 12 studies reviewed compared liposomal bupi-
      due to missing outcome data, bias in measurement of out-       vacaine surgical site infiltration to placebo. Seven found no
      come, and bias in selection of reported results. It does not   statistical difference between liposomal bupivacaine and
      measure the conduct of a trial. A summary bias judgment        placebo, and of these, 88% were deemed at low risk for bias.
      can be either “low” or “high” risk of bias, or can express     The five that did show statistical differences were all rated
      “some concerns,” and a high risk summary judgment gen-         with high risk for bias. Thirty-six of the randomized con-
      erally indicates a finding of high risk in at least one of the trolled trials compared surgical site infiltration of liposomal
      domains.5 The authors found that 35 to 40% of random-          bupivacaine to surgical site infiltration of bupivacaine, rop-
      ized controlled trials reviewed had evidence of high risk or   ivacaine, or lidocaine. Twenty-seven of these comparisons

      Image: A. Johnson, Vivo Visuals.
      This editorial accompanies the articles on pp. 147 and 283.
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      used a maximum dose of liposomal bupivacaine of 266 mg                then Pacira Biosciences, collectively referred to here as
      but used a smaller dose of regular bupivacaine or ropiva-             Pacira Biosciences, submitted an New Drug Application
      caine, possibly biasing the studies toward results favoring           application to the Food and Drug Administration for
      liposomal bupivacaine. Only six of the 36 studies of com-             Exparel brand liposomal bupivacaine for an indication of
      paring surgical site infiltration with liposomal bupivacaine          relief of postoperative surgical pain, administered as wound
      with nonliposomal local anesthetic infiltration found the             infiltration.6 For this indication, Pacira submitted five phase
      liposomal preparation to be superior. Five of these six stud-         2 active comparator-controlled studies and three phase 3




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      ies were judged to have high or concerning risk for bias. In          active comparator-controlled studies using nonliposomal
      five of the six studies, the active comparator dose of bupi-          bupivacaine as the comparator.6 None of these eight stud-
      vacaine was much lower than the liposomal bupivacaine                 ies showed clinical or statistical difference between the two
      dose, demonstrating that more bupivacaine works better                formulations.
      than less bupivacaine. Twelve studies compared liposomal                  Unable to demonstrate a benefit over nonliposomal
      bupivacaine for surgical infiltration with a peripheral nerve         bupivacaine, in 2009, the sponsor submitted two phase 3
      block administered with either nonliposomal bupivacaine               placebo-controlled clinical trials showing efficacy of lipo-
      or ropivacaine.The final group of 16 studies evaluated lipo-          somal bupivacaine against placebo.6 As allowed by regula-
      somal bupivacaine for a nerve block or epidural injection             tion, despite no greater efficacy of liposomal bupivacaine
      compared to placebo or active comparators, nonliposomal               than nonliposomal bupivacaine, the Food and Drug
      bupivacaine, or intrathecal hydromorphone, using the sim-             Administration in 2011 approved liposomal bupivacaine
      ilar outcome measures to all the previous trials. Of these            for surgical site infiltration to relieve postoperative pain
      last 28 trials reviewed, 43% showed superiority of liposo-            for hemorrhoidectomy and bunionectomy. For this initial
      mal bupivacaine; 82% showed high risk or some concerns                approval, the Food and Drug Administration deemed it not
      for bias. The authors concluded, “Whether introduced by               necessary for an advisory committee to meet.7
      surgical infiltration or as part of a peripheral nerve block,             In 2014, Pacira submitted a supplemental New Drug
      the preponderance of current evidence fails to support the            Application application for approval of liposomal bupiva-
      routine use of liposomal bupivacaine over standard local              caine for an additional indication of postsurgical analgesia
      anesthetics when treating postoperative pain.”                        via nerve block, for which they submitted data from two
          The systematic review and meta-analysis by Hussain                new studies.The first investigated intercostal nerve blocks
      et al. of the clinical effectiveness of liposomal versus non-         and found that liposomal bupivacaine was not superior
      liposomal bupivacaine for peripheral nerve blocks evalu-              to placebo, based on no differences in area under the
      ated the primary outcome of the 24- to 72-h difference                curve analysis for pain intensity at rest using a numerical
      in the weighted mean area under the curve rest pain scores            rating scale-R over 72 h. The second investigated femoral
      between patients receiving perineural analgesia inclusive of          nerve blocks and found that liposomal bupivacaine at a
      liposomal bupivacaine versus nonliposomal local anesthetics.          dose of 266 mg was superior to placebo for pain relief,
      The authors chose this time frame for the primary out-                based on a primary outcome measure of area under the
      come measure because liposomal bupivacaine is promoted                curve analysis of Numeric Rating Scale-Rest through
      to improve the duration and quality of analgesia beyond               72 h but not superior on its secondary outcome measure
      the first 24 h.4 A variety of secondary outcomes relating to          of time to first opioid rescue. This supplemental New
      postoperative pain rating scores and opioid rescues were              Drug Application was not approved in the first review
      also evaluated during the postoperative period of 0 to 72 h.          cycle. In 2017, Pacira submitted two new multicenter,
      Nine trials were included in this meta-analysis. The authors          randomized, double-blind, and placebo-controlled nerve
      found that the mean difference (95% CI) in area under the             block studies.8,9 The first evaluated the efficacy of lipo-
      curve of rest pain was found to be 1.0 cm/h (0.5 to 1.6;              somal bupivacaine for postsurgical analgesia via femoral
      P = 0.003) in favor of liposomal bupivacaine, but this differ-        nerve block in patients undergoing total knee arthro-
      ence failed to meet the predefined threshold for clinical sig-        plasty. The second evaluated liposomal bupivacaine for
      nificance (i.e., 2.0 cm/h; P < 0.001). Liposomal bupivacaine          postsurgical analgesia via ultrasound-guided brachial
      was similar to nonliposomal bupivacaine for all other anal-           plexus nerve blocks by either supraclavicular or intersca-
      gesic and functional outcomes. The authors concluded that             lene approach in patients undergoing shoulder surgery.
      liposomal bupivacaine used perineurally in peripheral nerve           Out of these four studies, both the two in 2014 and the
      blocks provides a clinically unimportant improvement in               two in 2017, the brachial plexus nerve block study was
      the area under the curve of postoperative pain scores com-            the only one that met both the primary efficacy end-
      pared to nonliposomal bupivacaine.                                    point of improved area under the curve estimates of pain
          The results of these two articles should not come as              relief for the first 48 to 72 h after surgery and decreased
      a surprise in light of the early studies performed for the            opioid rescues.
      regulatory approval of liposomal bupivacaine. In 2006,                    The Food and Drug Administration Anesthetic
      SkyePharma, later known as Pacira Pharmaceuticals and                 and Drug Products Advisory Committee met in 2018

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                                                                                                                                     Editorial


       to review the supplemental New Drug Application                        Pacira’s (Pacira Biosciences, Parsippany, New Jersey) sNDA
       request to approve liposomal bupivacaine for the new                   application for expanded indication for Exparel for nerve
       indication of regional nerve blocks.10,11 This advisory                blocks.
       committee consisted of 10 members with expertise in
       anesthesiology, pain medicine, pharmacology, or biosta-                Correspondence
       tistics, as well as a consumer and industry representative.
                                                                              Address correspondence to Dr. McCann: mary.mccann@
       Concerns raised by this committee included the lack




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                                                                              childrens.harvard.edu
       of active comparator groups in the submitted studies,
       a lack of safety studies, and the lack of evidence for
       opioid sparing. Most of the voting advisory commit-                    References
       tee members voted six to four against expanding the
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       indication for liposomal bupivacaine. In 2018, the Food
                                                                                    Available at: https://www.fda.gov/about-fda/what-
       and Drug Administration approved Exparel for “…use as
                                                                                    we-do. Accessed November 5, 2020.
       an interscalene brachial plexus nerve block to produce
                                                                              2.    US Food and Drug Adnimistration: CFR - Code of
       post-surgical regional analgesia following shoulder sur-
                                                                                    Federal Regulations Title 21. April 1, 2019. Available at:
       gery in adults.”12
                                                                                    https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/
           To summarize, both the review by Ilfeld et al. and the
                                                                                    cfcfr/cfrsearch.cfm?fr=314.126. Accessed November
       meta-analysis by Hussain et al. concluded that liposomal
                                                                                    11, 2020.
       bupivacaine did not show clinical superiority over exist-
                                                                              3.    Ilfeld BM, Eisenach JC, Gabriel RA: Clinical effec-
       ing, active comparators, nonliposomal bupivacaine or
                                                                                    tiveness of liposomal bupivacaine administered by
       ropivacaine. For the indication for infiltration, the stud-
                                                                                    infiltration or peripheral nerve block to treat postop-
       ies submitted by Pacira Biosciences did not demonstrate
                                                                                    erative pain: A narrative review. Anesthesiology 2020;
       superiority of liposomal bupivacaine compared to these
                                                                                    134:283–344
       same active comparators. For the indication of periph-
                                                                              4.    Hussain N, Brull R, Sheehy B, Essandoh MK, Stahl DL,
       eral nerve block, they submitted only placebo studies.
                                                                                    Weaver TE, Abdallah FW: Perineural liposomal bupiv-
       Although demonstrating efficacy of a new agent is sim-
                                                                                    acaine is not superior to nonliposomal bupivacaine for
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                                                                                    peripheral nerve block analgesia: A systematic review
       this design gives no information about the efficacy of a
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                                                                              5.    Sterne JAC, Savovic J, Page MJ, Elbers RG, Blencowe
       active comparator arm as well as a placebo arm can deter-
                                                                                    NS, Boutron I, Cates CJ, Cheng HY, Corbett MS,
       mine efficacy as well as give information about efficacy
                                                                                    Eldridge SM, Emberson JR, Hernan MA, Hopewell
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                                                                                    S, Shrier I, Stewart LA, Tilling K, White IR, Whiting
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       aggressive and powerful marketing strategy. Between 2013
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       and 2019, they paid $25.8 million to more than 27,000
                                                                              6.    Food and Drug Administration: NDA 022496, S009,
       physicians for a variety of services including compensa-
                                                                                    EXPAREL assessment of efficacy data of studies
       tion for being a speaker or faculty at nonaccredited edu-
                                                                                    submitted in support of sNDA. February 15, 2017.
       cational events.14 Sales of liposomal bupivacaine increased
                                                                                    Available at: https://www.fda.gov/media/111376/
       during this time with the company reporting a 25% growth
                                                                                    download. Accessed November 20, 2020.
       in 2019 over 2018 with full-year revenues of $421 million
                                                                              7.    Center for Drug Evaluation and Research: Application
       in 2019.15 The cost of a single dose of 266 mg of Exparel
                                                                                    number: 022496 Orig1s000, Cross Discipline Team
       brand liposomal bupivacaine is about $334.16 Nonliposomal
                                                                                    Leader Review. Available at: https://www.accessdata.
       bupivacaine costs about $3 per dose. In this era of medical
                                                                                    fda.gov/drugsatfda_docs/nda/2011/022496Orig-
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                                                                                    1s000MedR.pdf. Accessed November 5, 2020.
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                                                                              8.    Food and Drug Administration: Briefing document
       expensive drugs would at least be an improvement over
                                                                                    anesthesia and analgesia drug products advisory meet-
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                                                                                    ing February 14 and February 15, 2018. Available
                                                                                    at: https://www.fda.gov/media/110968/download.
       Competing Interests                                                          Accessed November 4, 2020.
       The author declares no competing interests. The author                 9.    Food and Drug Administration: Advisory Committee
       was the acting Chair for the Food and Drug Administration                    Meeting briefing document, EXPAREL® (bupi-
       Anesthetic and Analgesic Drug Products Advisory                              vacaine liposome injectable suspension). Meeting
       Committee February 14 and 15, 2018, which advised on                         of the Anesthetic and Analgesic Drug Products

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